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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                               )    Chapter 7
    In re:                                                     )
                                                               )    Case No. 23-10576 (TMH)
    CHRISTMAS TREE SHOPS, LLC, et al.,1                        )
                                                               )    (Jointly Administered)
                                                               )
                                      Debtors.                 )
                                                               )

   NOTICE OF AGENDA FOR HEARING ON DECEMBER 15, 2023 AT 10:00 A.M.
(PREVAILING EASTERN TIME) BEFORE THE HONORABLE THOMAS M. HORAN
    AT THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF
     DELAWARE, LOCATED AT 824 NORTH MARKET STREET, 5th FLOOR,
           COURTROOM NO. 6, WILMINGTON, DELAWARE 19801

    This hearing will be conducted in-person before the Honorable Thomas M. Horan, in the
United States Bankruptcy Court for the District of Delaware, 824 Market Street, 5th Floor,
   Courtroom #6. All parties, including witnesses, are expected to attend in person unless
permitted to appear via Zoom. Participation at the in-person court proceeding using Zoom
 is allowed only in the following circumstances: (i) a party who files a responsive pleading
intends to make only a limited argument; (ii) a party who has not submitted a pleading but
      is interested in observing the hearing; or (iii) other extenuating circumstances as
                                 determined by Judge Horan.
All participants over Zoom must register in advance. Please register by December 13, 2023,
                             at 4:00 p.m. (EST). at the link below.

    https://debuscourts.zoomgov.com/meeting/register/vJItce-grTIuHbU6Y_x3qpbi-vkV2hqIaw0


CASE STATUS CONFERENCE

1.           Status Conference

             Status: The parties have engaged in discussions to resolve the payroll issue and will
                    provide the Court with a further update at or prior to the hearing.




1     The Debtors in these chapter 7 cases and the last four digits of each Debtor’s U.S. tax identification number are
      as follows: Christmas Tree Shops, LLC (1207), Handil, LLC (1150), Handil Holdings, LLC (2891), Salkovitz
      Family Trust 2, LLC (8773), and Nantucket Distributing Co., LLC (1640).



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RESOLVED MATTERS

2.        Motion of Cherry Hill Retail Partners, LLC for an Order Allowing and Compelling
          Payment of Chapter 11 Administrative Claim Pursuant to 11 U.S.C. §§ 365(d)(3) and
          503(b) [Filed October 3, 2023, Docket No. 661].

          Response Deadline: October 17, 2023

          Responses Received:

                    a.          Limited Objection Limited Objection and Reservation of Rights of Chapter
                                7 Trustee to Motion of Cherry Hill Retail Partners, LLC for an Order
                                Allowing and Compelling Payment of Chapter 11 Administrative Claim
                                Pursuant to 11 U.S.C. §§ 365(d)(3) and 503(b [Filed October 17, 2023,
                                Docket No. 680].

          Related Documents: None

          Status: This matter has been resolved. The Chapter 7 Trustee will submit a Certificate
                  of Counsel with a Stipulation and Order shortly.

3.        Application for Allowance and Payment of Administrative Claim Pursuant to 11 U.S.C.
          Sections 365(D)(3), 503(B)(1)(A), and 507(A) Filed by Johnson Controls Security
          Solutions LLC [Filed 10.26.23, Docket No. 694].

          Response Deadline: November 20, 2023

          Responses Received: None.

          Related Documents: None.

          Status: This matter has been resolved. The Chapter 7 Trustee will submit a Certificate
                  of Counsel with a Stipulation and Order shortly.

ADJOURNED MATTERS

4.        64 Leona Property Owner LLCs: (A) Objection to Debtors Motion for Entry of an Order
          (I) Authorizing the Debtors to Reject their Distribution Center Lease [Filed 08.14.23,
          Docket No. 527]

          Response Deadline: August 14, 2023

          Responses Received: None.

          Related Documents:

                    a.          Debtors’ Motion for Entry of an Order (I) Authorizing The Debtors To
                                Reject Their Distribution Center Lease; and (II) Granting Related Relief
                                [Filed July 31, 2023, Docket No. 484].

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                    b.          Certificate of Service [Filed 08.14.23, Docket No. 529].

          Status:               This matter is adjourned to January 17, 2024 at 10:00 a.m. (ET).

5.        Motion for Payment of Administrative Expenses/Claims Filed by Aetna Life Insurance
          Company [Filed 09.26.23, Docket No. 657].

          Response Deadline: October 17, 2023. Response deadline was extended to November
          10, 2023 by agreement of the parties.

          Responses Received:

                    a.          Limited Objection and Reservation of Rights of Chapter 7 Trustee Aetna
                                Life Insurance Company’s Application for Allowance and Payment of
                                Chapter 11 Administrative Expense and Reservation of Rights [Filed
                                11.10.23, Docket No. 708].

          Related Documents:

                    a.          Certificate of Service [Filed 11.10.23, Docket No. 709].

          Status: This matter is adjourned to January 17, 2024 at 10:00 a.m. (ET).

MATTERS GOING FORWARD

6.        Combined Third Monthly and Final Fee Application of Murphy & King, Professional
          Corporation as Counsel to the Debtors and Debtors In Possession for Allowance of
          Compensation and Reimbursement of Expenses for the (I) Monthly Period from August 1,
          2023 Through August 16, 2023 and (II) Final Period from May 5, 2023 Through August
          16, 2023] [Filed 09.15.23, Docket No. 639].

          Response Deadline: October 6, 2023

          Responses Received:

                    a.          Chapter 7 Trustee’s Omnibus Response to Final Fee Applications of
                                Chapter 11 Estate Professionals [Filed 10.05.23, Docket No. 662].

                    b.          Corrected Chapter 7 Trustee’s Omnibus Response to Final Fee Applications
                                of Chapter 11 Estate Professionals [Filed 10.12.23, Docket No. 674].

                    c.          Debtors Professionals’ Reply to the Corrected Chapter 7 Trustee’s Omnibus
                                Response to Final Fee Applications of Chapter 11 Estate Professionals
                                [Filed 11.08.23, Docket No. 706].

          Related Documents:

                    a.          Certificates of Service [Filed 09.15.23, Docket No .647; Filed 10.12.23,
                                Docket No. 675; Filed 11.08.23, Docket No. 710].

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                    b.          Notice of Rescheduled Hearing on Final Fee Applications from October 25,
                                2023 at 10:00 a.m. (Eastern Time) to November 27, 2023 at 11:00 a.m.
                                (Eastern Time) [Filed 10.12.23, Docket No. 673].

                    c.          Declaration of Marjorie E. Kaufman in Support of Debtors Professionals’
                                Reply to the Corrected Chapter 7 Trustee’s Omnibus Response to Final Fee
                                Applications of Chapter 11 Estate Professionals [Filed 11.08.23, Docket
                                No. 707].

          Status: This matter is going forward.

7.        Combined Third Monthly and Final Fee Application of Troutman Pepper Hamilton
          Sanders LLP as Counsel to The Debtors and Debtors In Possession for Allowance of
          Compensation and Reimbursement of Expenses for The (I) Monthly Period From August
          1, 2023 Through August 16, 2023 and (II) Final Period for the period May 5, 2023 to
          August 16, 2023 [Filed 09.15.23, Docket No. 640].

          Response Deadline: October 6, 2023

          Responses Received:

                    a.          Chapter 7 Trustee’s Omnibus Response to Final Fee Applications of
                                Chapter 11 Estate Professionals [Filed 10.05.23, Docket No. 662].

                    b.          Corrected Chapter 7 Trustee’s Omnibus Response to Final Fee Applications
                                of Chapter 11 Estate Professionals [Filed 10.12.23, Docket No. 674].

                    c.          Debtors Professionals’ Reply to the Corrected Chapter 7 Trustee’s Omnibus
                                Response to Final Fee Applications of Chapter 11 Estate Professionals
                                [Filed 11.08.23, Docket No. 706].

          Related Documents:

                    a.          Certificates of Service [Filed 09.15.23, Docket No .647; Filed 10.12.23,
                                Docket No. 675; Filed 11.08.23, Docket No. 710].

                    b.          Notice of Rescheduled Hearing on Final Fee Applications from October 25,
                                2023 at 10:00 a.m. (Eastern Time) to November 27, 2023 at 11:00 a.m.
                                (Eastern Time) [Filed 10.12.23, Docket No. 673].

                    c.          Declaration of Marjorie E. Kaufman in Support of Debtors Professionals’
                                Reply to the Corrected Chapter 7 Trustee’s Omnibus Response to Final Fee
                                Applications of Chapter 11 Estate Professionals [Filed 11.08.23, Docket
                                No. 707].

          Status: This matter is going forward.




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8.        Combined Fourth Monthly and Final Fee Application of Porzio, Bromberg & Newman,
          P.C. as Co-Counsel for the Official Committee of Unsecured Creditors, For Allowance Of
          Compensation And Reimbursement Of Expenses For The (I) Monthly Period From August
          1, 2023 Through August 16, 2023, and (II) Final Period for the period from May 22, 2023
          to August 16, 2023 [Filed 09.15.23, Docket No. 641].

          Response Deadline: October 6, 2023

          Responses Received:

                    a.          Chapter 7 Trustee’s Omnibus Response to Final Fee Applications of
                                Chapter 11 Estate Professionals [Filed 10.05.23, Docket No. 662].

                    b.          Corrected Chapter 7 Trustee’s Omnibus Response to Final Fee Applications
                                of Chapter 11 Estate Professionals [Filed 10.12.23, Docket No. 674].

                    c.          Debtors Professionals’ Reply to the Corrected Chapter 7 Trustee’s Omnibus
                                Response to Final Fee Applications of Chapter 11 Estate Professionals
                                [Filed 11.08.23, Docket No. 706].

          Related Documents:

                    a.          Certificates of Service [Filed 09.15.23, Docket No .649; Filed 10.12.23,
                                Docket No. 675; Filed 11.08.23, Docket No. 710].

                    b.          Notice of Rescheduled Hearing on Final Fee Applications from October 25,
                                2023 at 10:00 a.m. (Eastern Time) to November 27, 2023 at 11:00 a.m.
                                (Eastern Time) [Filed 10.12.23, Docket No. 673].

                    c.          Declaration of Marjorie E. Kaufman in Support of Debtors Professionals’
                                Reply to the Corrected Chapter 7 Trustee’s Omnibus Response to Final Fee
                                Applications of Chapter 11 Estate Professionals [Filed 11.08.23, Docket
                                No. 707].

          Status: This matter is going forward.

          Final Fee Application of Kurtzman Carson Consultants LLC, as Administrative Advisor
                   to the Debtors, for the Period from May 5, 2023 Through and Including August
                   16, 2023 [Filed 09.15.23, Docket No. 642].

          Response Deadline: October 6, 2023

          Responses Received:

                    d.          Chapter 7 Trustee’s Omnibus Response to Final Fee Applications of
                                Chapter 11 Estate Professionals [Filed 10.05.23, Docket No. 662].




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                    e.          Corrected Chapter 7 Trustee’s Omnibus Response to Final Fee Applications
                                of Chapter 11 Estate Professionals [Filed 10.12.23, Docket No. 674].

                    f.          Debtors Professionals’ Reply to the Corrected Chapter 7 Trustee’s Omnibus
                                Response to Final Fee Applications of Chapter 11 Estate Professionals
                                [Filed 11.08.23, Docket No. 706]

          Related Documents:

                    a.          Certificates of Service [Filed 09.15.23, Docket No .647; Filed 10.12.23,
                                Docket No. 675; Filed 11.08.23, Docket No. 710].].

                    b.          Notice of Rescheduled Hearing on Final Fee Applications from October 25,
                                2023 at 10:00 a.m. (Eastern Time) to November 27, 2023 at 11:00 a.m.
                                (Eastern Time) [Filed 10.12.23, Docket No. 673].

                    c.          Declaration of Marjorie E. Kaufman in Support of Debtors Professionals’
                                Reply to the Corrected Chapter 7 Trustee’s Omnibus Response to Final Fee
                                Applications of Chapter 11 Estate Professionals [Filed 11.08.23, Docket
                                No. 707].

          Status: This matter is going forward.

9.        Combined Third Monthly and Final Fee Application of FAAN Advisors Group Inc. as
          Financial Advisor to the Debtors and Debtors in Possession for Allowance of
          Compensation and Reimbursement of Expenses Incurred for the (I) Monthly Period from
          August 1, 2023 Through August 16, 2023 and (II) Final Period from May 5, 2023 Through
          August 16, 2023 [Filed 09.15.23, Docket No. 643].

          Response Deadline: October 6, 2023

          Responses Received:

                    a.          Chapter 7 Trustee’s Omnibus Response to Final Fee Applications of
                                Chapter 11 Estate Professionals [Filed 10.05.23, Docket No. 662].

                    b.          Corrected Chapter 7 Trustee’s Omnibus Response to Final Fee Applications
                                of Chapter 11 Estate Professionals [Filed 10.12.23, Docket No. 674].

                    c.          Debtors Professionals’ Reply to the Corrected Chapter 7 Trustee’s Omnibus
                                Response to Final Fee Applications of Chapter 11 Estate Professionals
                                [Filed 11.08.23, Docket No. 706].

          Related Documents:

                    a.          Certificates of Service [Filed 09.15.23, Docket No .647; Filed 10.12.23,
                                Docket No. 675; Filed 11.08.23, Docket No. 710].



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                    b.          Notice of Rescheduled Hearing on Final Fee Applications from October 25,
                                2023 at 10:00 a.m. (Eastern Time) to November 27, 2023 at 11:00 a.m.
                                (Eastern Time) [Filed 10.12.23, Docket No. 673].

                    c.          Declaration of Marjorie E. Kaufman in Support of Debtors Professionals’
                                Reply to the Corrected Chapter 7 Trustee’s Omnibus Response to Final Fee
                                Applications of Chapter 11 Estate Professionals [Filed 11.08.23, Docket
                                No. 707].

          Status: This matter is going forward.

10.       Third Monthly and Final Fee Application of Womble Bond Dickinson (US) LLP for
          Compensation for Services Rendered and Reimbursement of Expenses as Co-Counsel for
          the Official Committee of Unsecured Creditors for the Monthly Period from August 1,
          2023 through August 16, 2023 and for the Final Period for the period from May 22, 2023
          to August 16, 2023 [Filed 09.15.23, Docket No. 644].

          Response Deadline: October 6, 2023

          Responses Received:

                    a.          Chapter 7 Trustee’s Omnibus Response to Final Fee Applications of
                                Chapter 11 Estate Professionals [Filed 10.05.23, Docket No. 662].

                    b.          Corrected Chapter 7 Trustee’s Omnibus Response to Final Fee Applications
                                of Chapter 11 Estate Professionals [Filed 10.12.23, Docket No. 674].

                    c.          Debtors Professionals’ Reply to the Corrected Chapter 7 Trustee’s Omnibus
                                Response to Final Fee Applications of Chapter 11 Estate Professionals
                                [Filed 11.08.23, Docket No. 706].

          Related Documents:

                    a.          Certificates of Service [Filed 09.15.23, Docket No .649; Filed 10.12.23,
                                Docket No. 675; Filed 11.08.23, Docket No. 710].

                    b.          Notice of Rescheduled Hearing on Final Fee Applications from October 25,
                                2023 at 10:00 a.m. (Eastern Time) to November 27, 2023 at 11:00 a.m.
                                (Eastern Time) [Filed 10.12.23, Docket No. 673].

                    c.          Declaration of Marjorie E. Kaufman in Support of Debtors Professionals’
                                Reply to the Corrected Chapter 7 Trustee’s Omnibus Response to Final Fee
                                Applications of Chapter 11 Estate Professionals [Filed 11.08.23, Docket
                                No. 707].

          Status: This matter is going forward.




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11.       Second Monthly and Final Fee Application of Rock Creek Advisors, LLC for
          Compensation for Services Rendered and Reimbursement of Expenses as Financial
          Advisors for the Official Committee of Unsecured Creditors for the Monthly Period from
          August 1, 2023 Through August 16, 2023 and for the Final Period for the period from May
          23, 2023 to August 16, 2023 [Filed 09.15.23, Docket No. 645].

          Response Deadline: October 6, 2023

          Responses Received:

                    a.          Chapter 7 Trustee’s Omnibus Response to Final Fee Applications of
                                Chapter 11 Estate Professionals [Filed 10.05.23, Docket No. 662].

                    b.          Corrected Chapter 7 Trustee’s Omnibus Response to Final Fee Applications
                                of Chapter 11 Estate Professionals [Filed 10.12.23, Docket No. 674].

                    c.          Debtors Professionals’ Reply to the Corrected Chapter 7 Trustee’s Omnibus
                                Response to Final Fee Applications of Chapter 11 Estate Professionals
                                [Filed 11.08.23, Docket No. 706].

          Related Documents:

                    a.          Certificates of Service [Filed 09.15.23, Docket No .649; Filed 10.12.23,
                                Docket No. 675; Filed 11.08.23, Docket No. 710].

                    b.          Notice of Rescheduled Hearing on Final Fee Applications from October 25,
                                2023 at 10:00 a.m. (Eastern Time) to November 27, 2023 at 11:00 a.m.
                                (Eastern Time) [Filed 10.12.23, Docket No. 673].

                    c.          Declaration of Marjorie E. Kaufman in Support of Debtors Professionals’
                                Reply to the Corrected Chapter 7 Trustee’s Omnibus Response to Final Fee
                                Applications of Chapter 11 Estate Professionals [Filed 11.08.23, Docket
                                No. 707].

          Status: This matter is going forward.

12.       First and Final Application of SSG Advisors, LLC, Investment Banker to the Debtors, for
          Allowance of Compensation and Reimbursement of Expenses for the Period May 31, 2023
          Through and Including August 16, 2023 [Filed 09.15.23, Docket No. 646].

          Response Deadline: October 6, 2023

          Responses Received:

                    a.          Chapter 7 Trustee’s Omnibus Response to Final Fee Applications of
                                Chapter 11 Estate Professionals [Filed 10.05.23, Docket No. 662].




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                    b.          Corrected Chapter 7 Trustee’s Omnibus Response to Final Fee Applications
                                of Chapter 11 Estate Professionals [Filed 10.12.23, Docket No. 674].

                    c.          Debtors Professionals’ Reply to the Corrected Chapter 7 Trustee’s Omnibus
                                Response to Final Fee Applications of Chapter 11 Estate Professionals
                                [Filed 11.08.23, Docket No. 706].

          Related Documents:

                    a.          Certificates of Service [Filed 09.15.23, Docket No .647; Filed 10.12.23,
                                Docket No. 675; Filed 11.08.23, Docket No. 710].

                    b.          Notice of Rescheduled Hearing on Final Fee Applications from October 25,
                                2023 at 10:00 a.m. (Eastern Time) to November 27, 2023 at 11:00 a.m.
                                (Eastern Time) [Filed 10.12.23, Docket No. 673].

                    c.          Declaration of Marjorie E. Kaufman in Support of Debtors Professionals’
                                Reply to the Corrected Chapter 7 Trustee’s Omnibus Response to Final Fee
                                Applications of Chapter 11 Estate Professionals [Filed 11.08.23, Docket
                                No. 707].

          Status: This matter is going forward.

13.       Bank of America, N.A.’s Motion for Relief from Stay to Exercise Setoff Rights Relating
          to a Deposit Account [Filed 09.20.23, Docket No. 652].

          Response Deadline: October 10, 2023

          Responses Received:

                    a.          Chapter 7 Trustees Objection to Bank of America, N.A.s Motion for Relief
                                From the Automatic Stay to Exercise Setoff Rights Relating to Deposit
                                Account [Filed 10.10.23, Docket No. 664].

          Related Documents: None.

          Status: This matter is going forward The parties have engaged in settlement discussions
                  and it may be adjourned. The parties will further update the Court in advance of
                  the hearing.

ADVERSARY MATTER ADJOURNED 23-ap-50446

14.       Pre-Trial Conference

          Status: The parties intend to present a proposed scheduling order under certification of
                  counsel.




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Dated: December 12, 2023
                                        PACHULSKI STANG ZIEHL & JONES LLP

                                        /s/ Colin R. Robinson
                                        Bradford J. Sandler (DE Bar No. 4142)
                                        Colin R. Robinson (DE Bar No. 5524)
                                        Peter J. Keane (DE Bar No. 5503)
                                        Edward A. Corma (DE Bar No. 6718)
                                        919 North Market Street, 17th Floor
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                                        Counsel for the Chapter 7 Trustee




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